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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           NEWNAN DIVISION

TAMARA JEAN FARRELL                  )
an individual,                       )
                                     )               CASE NO.:
            Plaintiff,               )
vs.                                  )
                                     )
CLOCKTOWER LAGRANGE                  )
SHOPPING CENTER, LLC,                )
a Georgia Limited Liability Company, )
                                     )
            Defendant.               )
___________________________________/ )

                                   COMPLAINT

      Plaintiff, TAMARA JEAN FARRELL, through her undersigned counsel,

hereby files this Complaint and sues CLOCKTOWER LAGRANGE SHOPPING

CENTER, LLC, a Georgia Limited Liability Company, for injunctive relief,

attorney’s fees and costs pursuant to 42 U.S.C. § 12181 et. seq., (“AMERICANS

WITH DISABILITIES ACT” or “ADA”) and allege:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. § 12181, et. seq., (hereinafter




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referred to as the “ADA”). This Court is vested with original jurisdiction pursuant

to 28 U.S.C. §§ 1331 and 1343.

      2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) and

Rule 3.1, Local Rules of the United States District Court for the Northern District

of Georgia.

      3.      Plaintiff, TAMARA JEAN FARRELL, (hereinafter referred to as

“MS. FARRELL”), is a resident of Henry County, Georgia.

      4.      MS. FARRELL is disabled and suffers from Congenital Spastic

Cerebral Palsy Diplegia.     She requires the use of either a special cane or a

wheelchair as her primary means of mobility.

      5.      Due to her disability, MS. FARRELL is substantially impaired in

several major life activities, including walking.

      6.      Defendant, CLOCKTOWER LAGRANGE SHOPPING CENTER,

LLC, a Georgia Limited Liability Company, (hereinafter referred to as

“DEFENDANT”), is registered to do business in the State of Georgia. Upon

information and belief, DEFENDANT is the owner and/or operator of the real

property and improvements which are the subject of this action, to wit: the




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Property, known as Clock Tower, located at 1510 Lafayette Parkway, LaGrange,

Georgia 30241.

      7.      All events giving rise to this lawsuit occurred in the Northern District

of Georgia, Troup County, Georgia.

                   COUNT I - VIOLATION OF TITLE III OF THE
                     AMERICANS WITH DISABILITIES ACT

      8.      Plaintiff realleges and incorporates into this cause of action each and

every allegation contained in the previous paragraphs of this Complaint.

      9.      The Property, a shopping center, is open to the public and provides

goods and services to the public.

      10.     MS. FARRELL has visited the Property and attempted to utilize the

facilities offered at the Property.

      11.     While at the Property, MS. FARRELL experienced serious difficulty

accessing the goods and utilizing the services therein due to the architectural

barriers discussed herein.

      12.     MS. FARRELL continues to desire to visit the Property, but fears that

she will continue to experience serious difficulty due to the barriers discussed

herein, which still exist.

      13.     MS. FARRELL plans to and will visit the property in the near future

to utilize the goods and services offered thereon.


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      14.    Defendant is in violation of 42 U.S.C. § 12181 et. seq. and 28 C.F.R.

§ 36.304 et. seq. and is discriminating against the Plaintiff due to Defendant’s

failure to provide and/or correct, inter alia, the following barriers to access which

Plaintiff personally encountered and observed:

             A.    Plaintiff encountered inaccessible parking spaces designated for

      disabled use throughout the Property such as near Keum Soo Kang San

      Korean Restaurant, Juanito’s Restaurant and Banzai Japanese Steak House

      due to a lack of any signage to designate the spaces exclusively for disabled

      use. This made it difficult for the Plaintiff to identify the disabled use

      parking spaces during her visits.

             B.    Plaintiff encountered inaccessible curb ramps throughout the

      Property such as near Juanito’s Restaurant, Keum Soo Kang San Korean

      Restaurant and Banzai Japanese Steak House due to excessive running

      slopes over 1:12, excessive side flare slopes over 1:10, cross slopes over

      1:48, disrepair and failure to create a smooth transition between the ramps

      and the parking lot pavement. These issues made it difficult and dangerous

      for Plaintiff to maneuver over the poorly designed ramps and increased her

      changes of a fall.

             C.    Plaintiff encountered inaccessible parking spaces designated for

      disabled use throughout the Property due to slopes in excess of 1:48 within

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      the parking spaces and their adjacent access aisles. This issue made it

      difficult and dangerous for Plaintiff to transfer into and out of a vehicle and

      increased her risk of a fall.

             D.     Plaintiff encountered an inaccessible parking space designated

      for disabled use near Banzai Japanese Steak House due to a narrow access

      aisle which is less than 60 inches wide. This issue made it difficult and

      dangerous for Plaintiff to transfer into and out of a vehicle and increased her

      risk of getting injured by vehicular traffic in the parking lot.

             E.     Plaintiff encountered an inaccessible parking space designated

      for disabled use near the Keum Soo Kang San Korean Restaurant because

      the curb ramp is located directly in front of the ADA parking space whereby

      one’s own vehicle obstructs the ramp. This issue rendered the curb ramp at

      this disabled use parking space completely unusable for Plaintiff.

      15.    Defendant either does not have a policy to assist people with

disabilities or refuses to enforce such a policy if it does exist.

      16.    Independent of her intent to return as a patron to the Property because

she enjoys the shops located there, Plaintiff additionally intends to return to the

Property as an ADA tester to determine whether the barriers to access stated herein

have been remedied.

      17.    Removal of the barriers to access located on the Property is readily

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achievable, reasonably feasible and easily accomplishable without placing an

undue burden on Defendant. Moreover, but for the numerous barriers to access at

the Property, Plaintiff would patronize the Property more often.

      18.    Removal of the barriers to access located on the Property would allow

Plaintiff to fully utilize the goods and services located therein.

      19.    The Plaintiff has been obligated to retain undersigned counsel for the

filing and prosecution of this action. Plaintiff is entitled to have her reasonable

attorney’s fees, costs, and litigation expenses paid by Defendant.

      WHEREFORE, the Plaintiff demands judgment against CLOCKTOWER

LAGRANGE SHOPPING CENTER, LLC, and requests the following injunctive

and declaratory relief:

             A.     That the Court declares that the Property owned and

                    operated by DEFENDANT is in violation of the ADA;

             B.     That the Court enter an Order directing DEFENDANT to

                    alter its property to make it accessible and useable by

                    individuals with disabilities to the full extent required by

                    Title III of the ADA;

             C.     That the Court enter an Order directing DEFENDANT to

                    evaluate and neutralize its policies and procedures

                    towards persons with disabilities for such reasonable time

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         so as to allow DEFENDANT to undertake and complete

         corrective procedures;

   D.    That the Court award reasonable attorney’s fees, costs

         (including expert fees), and other expenses of suit, to the

         Plaintiff; and

   E.    That the Court award such other and further relief as it

         deems necessary, just and proper.



                      Respectfully Submitted,

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                      By: /s/ John A. Moore        .




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